Case 2:06-cr-00032-PLM               ECF No. 135, PageID.346       Filed 02/15/07       Page 1 of 2




                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                        Plaintiff,                    Case No. 2:06-cr-32-02

v.                                                    HON. ROBERT HOLMES BELL

DEBORAH LEE GREEN,

                  Defendant.
____________________________________/


                             REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on February 14, 2007, after receiving the written consent of defendant and all counsel. At the

hearing, defendant DEBORAH LEE GREEN entered a plea of guilty to Count 1 of the Indictment,

charging defendant with Conspiracy to Distribute and Possess with Intent to Distribute Controlled

Substances, to-wit: Cocaine Base (Crack) and Cocaine, in violation of 21:846, 841(a)(1),

841(b)(1)(A)(iii) and 841 (b)(1)(C), in exchange for the undertakings made by the government in the

written plea agreement. On the basis of the record made at the hearing, I find that defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
Case 2:06-cr-00032-PLM           ECF No. 135, PageID.347            Filed 02/15/07       Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count 1 of the Indictment be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. It is further recommended that the defendant

be detained pending sentencing. Acceptance of the plea, adjudication of guilt, acceptance of the plea

agreement, determination of defendant's status pending sentencing, and imposition of sentence are

specifically reserved for the district judge. The clerk is directed to procure a transcript of the plea

hearing for review by the District Judge.



Date: February 15, 2007                                 /s/ Timothy P. Greeley
                                                       TIMOTHY P. GREELEY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).
